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 5
     Attorney for Defendant,
 6   LUIS ANTONIO ARENAS ZAMORA
 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                  EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9

10   UNITED STATES OF AMERICA,          ) Case No.: 1:08-CR-00213-AWI
                                        )
11             Plaintiff,               )
                                        )
12       vs.                            )
                                        )
13                                      ) STIPULATION AND ORDER
     LUIS ANTONIO ARENAS ZAMORA,        ) CONTINUING STATUS CONFERENCE
14                                      )
                                        )
15             Defendant.               )
                                        ) DATE: September 24, 2012
16                                      ) TIME: 10:00 a.m.
                                        ) Hon. Anthony W. Ishii
17                                      )
18       IT IS HEREBY STIPULATED by the parties hereto, through
19   their respective attorneys of record, that the Status
20   Conference, presently set for September 24, 2012, at 10:00
21   a.m. be vacated.     The parties further stipulate that a Status
22   Conference be set for October 22, 2012, at 10:00 a.m.
23       Good cause exists for this request as Anthony P. Capozzi,
24   attorney for Defendant Luis Antonio Arenas Zamora, is
25   unavailable for the next two weeks due to a trial.              People of
26   the State of California v. Alejandro Castro, case number
27   F10900353, began on Wednesday, September 12, 2012, at 9:00
28   a.m. in Fresno County Superior Court.          The trial is
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                        REQUEST TO CONTINUE STATUS CONFERENCE
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 1   tentatively expected to last through Friday, September 28,
 2   2012.   Therefore, counsel for the defendant is unavailable
 3   for trial in this matter and failure to grant the request
 4   would unreasonably deny the defendant continuity of counsel.
 5       Based on the above-stated findings, the ends of justice
 6   served by continuing this matter for status conference as
 7   requested outweigh the interest of the public and the
 8   defendant in a trial within the original date prescribed by
 9   the Speedy Trial Act.
10       For the purpose of computing time under the Speedy Trial
11   Act, 18 U.S.C. § 3161, et seq., within which trial must
12   commence, the time period of September 24, 2012 through
13   October 22, 2012, inclusive, is deemed excludable pursuant to
14   18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a
15   continuance granted by the Court at defendant’s request on
16   the basis of the Court's finding that the ends of justice
17   served by taking such action outweigh the best interest of
18   the public and the defendant in a speedy trial.
19       So Stipulated:
20   DATED: September 20, 2012              Respectfully Submitted,
21

22                                          /s/Anthony P. Capozzi
                                            Anthony P. Capozzi
23                                          Attorney for,
                                            LUIS ANTONIO ARENAS ZAMORA
24

25                                          /s/Kathleen A. Servatius
                                            Kathleen A. Servatius
26                                          Assistant United States
                                            Attorney
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 1                                                        ORDER
 2

 3                         IT IS SO ORDERED. Good cause having been shown, the Status
 4   Conference now set for September 24, 2012, be continued to
 5   Monday, October 22, 2012, at 10:00 a.m.                              Additionally, time
 6
     shall be excluded by stipulation from the parties and pursuant
 7
     to 18 U.S.C. § 3161(h)(7)(A), B(iv).
 8

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10   IT IS SO ORDERED.

11   Dated: September 20, 2012
                                                   CHIEF UNITED STATES DISTRICT JUDGE
12   DEAC_Signature-END:




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                                           REQUEST TO CONTINUE STATUS CONFERENCE
                                                CASE NO.: 1:08-CR-00213-AWI
